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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Jacob Marion, LLC, Appellant, 

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;Jones "Doe" Respondent. 

&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

&lt;p&gt; 

Leon I. Behar, P.C. (Leon I. Behar), for appellant. 

South Brooklyn Legal Services (Nadya E. Rosen and Andrew A. Ortiz), for respondent. 

Consolidated&lt;/p&gt; 

&lt;p&gt; appeals from (1) an order of the Civil Court of the City of New York, Kings County (Gary Franklin Marton, J.), dated August 6, 2015, deemed in part from a final judgment of that court entered April 1, 2016 (see CPLR 5501 [c]), and (2) an order of that court dated June 16, 2016. The final judgment, entered pursuant to so much of the order dated August 6, 2015 as granted a motion by tenant Phyllis Jones, sued herein as Jones "Doe," for summary judgment, dismissed the petition in a holdover summary proceeding. The order dated August 6, 2015, insofar as directly appealed from, denied as moot landlord's cross motion for use and occupancy. The order dated June 16, 2016 denied landlord's motion for leave to renew its opposition to tenant's motion for summary judgment.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order dated August 6, 2015, insofar as reviewed on direct appeal, the final judgment, and the order dated June 16, 2016 are affirmed, without costs.&lt;/p&gt; 

&lt;p&gt;The notice of termination and petition in this holdover proceeding allege the termination of a month-to-month tenancy and that the premises is not rent stabilized. By order dated August 6, 2015, the Civil Court granted tenant's motion for summary judgment dismissing the petition on the ground that the apartment was rent stabilized, and denied as moot landlord's cross motion for use and occupancy. Landlord's notice of appeal from the order dated August 6, 2015 is deemed in part to be from a final judgment, entered pursuant to the order, dismissing the petition (&lt;i&gt;see&lt;/i&gt; CPLR 5501 [c]). Following the entry of the final judgment, landlord moved, on the ground of newly discovered evidence (&lt;i&gt;see&lt;/i&gt; CPLR 2221 [e]), for leave to renew its opposition to tenant's &lt;font color="FF0000"&gt;[*2]&lt;/font&gt;summary judgment motion, arguing that tenant had no lease at all, which motion was denied by order dated June 16, 2016.&lt;/p&gt; 

&lt;p&gt;For the reasons stated in &lt;i&gt;Jacob Marion, LLC, v Hamilton "Doe"&lt;/i&gt; (
 [appeal No. 2015-2801 K C], decided herewith), the order dated August 6, 2015, insofar as reviewed on direct appeal, the final judgment, and the order dated June 16, 2016 are affirmed.&lt;/p&gt; 

&lt;p&gt;PESCE, P.J., WESTON and ALIOTTA, JJ., concur.&lt;/p&gt; 

 

&lt;br&gt;ENTER:&lt;br&gt;Paul Kenny&lt;br&gt;Chief Clerk&lt;br&gt;Decision Date: February 09, 2018 

 

 

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